Case 2:05-cv-02159-BBD-dkv Document 24 Filed 07/27/05 Page 1 of 3 Pa_,ge|D 29

UNITED STATES DISTRICT COURT w m---Y-é-}---M
FOR THE WESTF,RN DISTRICT OF TENNESSEE
05 JUL 27 AH 6: 5|

K‘¢“h@ryn Lee’ ) aM§ba§tmrwm

) . .
Plaintiff, ) wm OF m

)

v. ) Civil Action No.: 05 2159 DV
)

Memphis City Schools, Carol Johnson, )

Willie Mae Willet, Michael J. Goar, )

Von W. G00d10e, J ames Davis, Memphis )

Education Association and Kirn-Shawn )

Gary7 )

AGREED ORDER

In accordance With the stipulation of the parties pursuant to Rule 4l(a)(1) of the Federal
Rules ofCivil Proccdure, it is hereby ORDERED that the Plaintiff’s federal claims in this action
against Memphis Education Asscciation and Kim-Shawn Gary be dismissed With prejudice

ENTERED this Z(¢ day OfJuly, 2005.

H , BERNI DONALD

APPROVED FOR ENTRY:

/Y]\`oka&@ HWOL/CLO wtgzm.
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Case 2:05-cv-02159-BBD-dkv Document 24 Filed 07/27/05 Page 2 of 3 Page|D 30

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
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US DISTRICT COURT

